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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.                              NO. 4:15-CR-00224-11 BSM

MEGAN BROOKE MCCONNELL                                                   DEFENDANT


                                        ORDER

      Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #215) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk is directed to issue summons to Defendant

Megan Brooke McConnell for appearance at a hearing before United States Magistrate

Judge J. Thomas Ray on August 19, 2016, at 2:00 p.m. to show cause why her pretrial

release should not be revoked.

      IT IS SO ORDERED this 15th day of August, 2016.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
